                Case:
ILND 450 (Rev. 10/13)    1:18-cv-05027
                      Judgment in a Civil Action   Document #: 60 Filed: 02/22/19 Page 1 of 1 PageID #:952

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

    Joseph W. Denan and Adrienne L. Padgett ,

    Plaintiff(s),
                                                                     Case No. 18 C 5027
    v.                                                               Judge Virginia M. Kendall

    Trans Union, LLC,

    Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Trans Union, LLC
                    and against plaintiff(s) Joseph W. Denan and Adrienne L. Padgett
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

         tried by a jury with Judge     presiding, and the jury has rendered a verdict.
         tried by Judge     without a jury and the above decision was reached.
         decided by Judge Virginia M. Kendall on a motion for Judgement on the Pleadings



Date: 2/22/2019                                                  Thomas G. Bruton, Clerk of Court

                                                                 /s/ Lynn Kandziora, Deputy Clerk
